
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida *653Industrial Commission bearing date May 26, 1965.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition is therefore denied.
Claimant’s petition for attorney’s fees in this Court is granted and the amount thereof is hereby fixed at $250.00.
It is so ordered.
THORNAL, C. J., and THOMAS, ROBERTS, CALDWELL and ERVIN, JJ., concur.
